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                            UNITED STATES DISTRICT COURT
                                    District of Nevada



UNITED STATES OF AMERICA,)                          Case No. 2:17-CR-00124-JAD-GWF-8
Plaintiff,                )
                          )
        v.                )                                PETITION FOR ACTION
                          )                                ON CONDITIONS OF
Artavious Wright          )                                PRETRIAL RELEASE
Defendant



         Attached hereto and expressly incorporated herein is a Petition for Action on Conditions

of Pretrial Release concerning the above-named defendant prepared by Kelly A. Bowen U. S.

Pretrial Services Officer. I have reviewed that Petition and believe there is sufficient credible

evidence which can be presented to the Court to prove the conduct alleged, and I concur in the

recommended action requested of the Court.

         Dated this 26th day of June, 2018.


                                                           DAYLE ELIESON
                                                           United States Attorney


                                                           By      /S/
                                                                   ROBERT KNIEF
                                                                   Assistant U. S. Attorney
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PS 8
(Revised 12/04)

                          UNITED STATES DISTRICT COURT
                                      for the
                               DISTRICT OF NEVADA
U.S.A. vs. Artavious Wright                                 Docket No. 2:17CR00124-JAD-GWF-8

                         Petition for Action on Conditions of Pretrial Release

       COMES NOW KELLY A. BOWEN, UNITED STATES PRETRIAL SERVICES
OFFICER, presenting an official report upon the conduct of defendant, Artavious Wright, who
was placed under pretrial release supervision by Your Honor on July 28, 2017, on a Personal
Recognizance Bond with the following conditions:

      1. Pretrial Services Supervision.
      2. The defendant shall surrender any passport and/or passport card to U.S. Pretrial Services
          or the supervising officer.
      3. The defendant shall report any lost or stolen passport or passport card to the issuing agency
          as directed by Pretrial Services or the supervising officer within 48 hours of release.
      4. The defendant shall not obtain a passport or passport card.
      5. The defendant shall abide by the following restrictions on personal association, place of
          abode, or travel: Travel is restricted to Clark County, NV
      6. The defendant shall maintain residence at current residence and may not move prior to
          obtaining permission from the Court, Pretrial Services or the supervising officer.
      7. The defendant shall maintain or actively seek lawful and verifiable employment and notify
          Pretrial Services or the supervising officer prior to any change.
      8. The defendant shall avoid all contact directly or indirectly with co-defendant(s) unless it is
          in the presence of counsel.
      9. The defendant shall submit to any testing required by Pretrial Services or the supervising
          officer to determine whether the defendant is using a prohibited substance. Any testing
          may be used with random frequency and may include urine testing, the wearing of a sweat
          patch, a remote alcohol testing system and/or any form of prohibited substance screening
          or testing. The defendant shall refrain from obstructing or attempting to obstruct or tamper,
          in any fashion, with the efficiency and accuracy of any prohibited substance testing or
          monitoring which is/are required as a condition of release.
      10. The defendant shall pay all or part of the cost of the testing program based upon his/her
          ability to pay as Pretrial Services or the supervising officer determines.
      11. The defendant shall refrain from use or unlawful possession of a narcotic drug or other
          controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
          practitioner.
      12. The defendant shall not be in the presence of anyone using or possessing a narcotic drug
          or other controlled substances.
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        Respectfully presenting petition for action of Court and for cause as follows:

On the following dates the defendant failed to appear to provide a drug test: August 13, 2017,
September 19, 2017; January 5, 2018; February 18, 2018; April 16, 2018; and May 19, 2018. On
the following dates the defendant stalled when asked to provide a sample for a drug test: October
12, 2017; June 12, 2018; and June 17, 2018.

On February 22, 2018, Pretrial Services discovered the defendant moved his residence without
prior permission or approval.

On April 17, 2018, Mr. Wright advised Pretrial Services he moved residences a second time
without prior permission or approval.

On June 9, 2018, the defendant was arrested by Las Vegas Metropolitan Police and charged with
Obstructive Use of Public Sidewalk and did not report contact with law enforcement to Pretrial
Services until June 13, 2018.

PRAYING THAT THE COURT WILL ORDER A SUMMONS BE ISSUED BASED UPON
THE INFORMATION OUTLINED ABOVE. FURTHER, THAT A HEARING BE HELD
TO SHOW CAUSE WHY PRETRIAL RELEASE SHOULD NOT BE REVOKED.

  ORDER OF COURT                                 I declare under penalty of perjury that the
                                                 information herein is true and correct.
                                 26th day
  Considered and ordered this _____              Executed on this 26th day of June 2018.
  of June 2018, and ordered filed and
  made a part of the records in the above        Respectfully Submitted,
  case.

  ________________________________
  Honorable Cam Ferenbach                        Kelly A. Bowen
  U.S. Magistrate Judge                          U.S. Pretrial Services Officer
                                                 Place: Las Vegas, Nevada
